....   ~~               Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 1 of 68


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                                                                                                       Ci COURi
                                   IN THE UNITED STATES DISTRICT COURT      EASTERN DISTRICT ARKANSAI

                                  FOR THE EASTERN DISTRICT OF ARKANSAS
                                                 WESTERN DIVISION
                                                                       Jt\MES
            ARCARE, INC., an Arkansas Corporation,                     By:    >. ~ V7G41:l:i.L. ~~·"
            on behalf of itself and all others similarly situated

            v.                               CASENO.      i/--."l'lc!..vlt/.1-KG/J
            ALERE, INC. and ALERE HOME MONITORING, INC.                                        DEFENDANTS

                   DEFENDANTS ALERE, INC. AND ALERE HOME MONITORING, INC.'S
                                     NOTICE OF REMOVAL
                                                                                         ·,,

                   Defendants Alere, Inc. and Alere Home Monitoring, Inc., by and through the undersigned

            counsel, timely file this Notice of Removal, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,

            removing this action from the Circuit Court of White County, Arkansas, where it is now pending,

            to the United States District Court for the Eastern District of Arkansas, Western Division. In

            support of this Notice, Defendants state as follows:       This case assigned to   Oist~e,.6.u f',,,,_"
                                                                       and to Magistrate Judge                  ~,c
                                              ORIGINAL JURISDICTION

                   1.       Plaintiff, ARcare, Inc., individually and on behalf of a purported class of similarly

            situated individuals, filed a complaint on February 3, 2017, in the Circuit Court of White County,

            Arkansas, bearing Case No. 73CV-2017-50-1 (the "Removed Action").

                   2.       On February 9, 2017, Plaintiff served Defendants' registered agent of service with

            file-stamped copies of the Complaint in the Removed Action. True and correct copies of the

            summons and Complaint served upon Defendants are attached as Exhibits "A" and "B".

                   3.       In its Complaint, Plaintiff alleges Defendants violated the Telephone Consumer

            Protection Act, 47 U.S.C. § 227 et seq.

                   4.       Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over Plaintiffs

            asserted federal claim, and this action may therefore be removed to this Court pursuant to
            Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 2 of 68




28 U.S.C. § 1441. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372, 132 S. Ct. 740, 745 (2012)

(holding that "federal and state courts have concurrent jurisdiction over private suits arising under

the TCP A").

                                   VENUE AND PROCEDURE

       5.       Pursuant to 28 U.S.C. § 1441(a), venue is proper in this Court because the Removed

Action is pending in the Circuit Court of White County, Arkansas, which is within the Eastern

District of Arkansas, Western Division. Venue, therefore, is proper in this Court because it is the

"district and division embracing the place where such action is pending." See 28 U.S.C. § 1441(a).

       6.       This Notice is timely filed. Pursuant to 28 U.S.C. § 1446(b), a notice of removal

must be filed within thirty (30) days of when Defendants were served with Plaintiff's Complaint.

Defendants were served with the Removed Action on February 9, 2017, in the care of Defendants'

registered agent, The Corporation Service Company. Thirty days from that date was March 11,

2017, a Saturday. This Notice has therefore been timely filed on the next business day after March

11, 2017, pursuant to Federal Rule of Civil Procedure 6(a).

       7.       Consistent with 28 U.S.C. § 1446(a), Defendants are providing this Notice, which

provides the requisite "short and plain statement of the grounds for removal." This Notice has been

prepared and signed by an authorized attorney pursuant to Federal Rule of Civil Procedure 11. Id.

       8.       Pursuant to 28 U.S.C. § 1446(d), counsel for Plaintiff will be served with a copy of

this Notice of Removal, and a copy of this Notice of Removal will be filed with the Clerk of the

Circuit Court of White County, Arkansas.

       9.       In light of the foregoing, removal of this case to the United States District Court for

the Eastern District of Arkansas is proper.




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.:            Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 3 of 68




            10.     Because this Notice of Removal is neither a responsive pleading nor a motion under

     Federal Rule of Civil Procedure 12, Defendants have not waived the right to assert any applicable

     defenses merely by removing this action from state court. After removal of a case from state court

     to a federal district court, the action is governed by the Federal Rules of Civil Procedure.

     Nationwide Engineering & Control Sys., Inc. v. Thomas, 837 F.2d 345, 348 (8th Cir. 1988); Fed.

     R. Civ. P. 81(c)(l). Federal Rule of Civil Procedure 12 provides that every defense to a claim for

     relief in any pleading shall be asserted in the responsive pleading or by motion. See Fed. R. Civ.

     P. 12(b). Defendants did not file a responsive pleading or a motion asserting defenses in the Circuit

     Court of White County, Arkansas.

            WHEREFORE, Defendants, by counsel, respectfully notify this Court, the state court, and

     Plaintiff of the removal of this action from the Circuit Court of White County, Arkansas, to the

     United States District Court for the Eastern District of Arkansas, Western Division.

            Dated: March 13, 2017.

                                                   Respectfully submitted,

                                                   QUATTLEBAUM, GROOMS & TULL PLLC
                                                   111 Center Street, Suite 1900
                                                   Little Rock, Arkansas 72201
                                                   Telephone: (501) 379-1700
                                                   Facsimile: (501) 379-1701
                                                   cpekron@qgtlaw.com
                                                   sdeloach@qgtlaw.com


                                                   By:~t/JJ~~
                                                    ~             >Pekfon(2008144)
                                                          Sarah E. DeLoach (2015235)

                                                   Counsel for Defendants A/ere Inc. and A/ere Home
                                                   Monitoring, Inc.




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                               CERTIFICATE OF SERVICE

     I hereby certify that on this 13th day of March, 2017, I served the foregoing Notice of
Removal, via electronic mail and regular U.S. Mail, upon the following counsel ofrecord:

Randall K. Pulliam
Carney Bates & Pulliam, PLLC
519 West 7th Street
Little Rock, AR 72201
Telephone: (501) 312-8500
Facsimile: (501) 312-8505
rpulliam@cbplaw.com

Counsel for Plaintiff
                                                ~,di/~
                                                'thlif'W. Pekron       ----.....   -=--




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                   Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 5 of 68




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                                                                                                                        SLM I ALL
                                                                                                     Transmittal Number: 16225449
Notice of Service of Process                                                                            Date Processed: 02/10/2017

Primary Contact:           Todd Chiaramida
                           Al ere
                           51 Sawyer Road
                           Suite 200
                           Waltham, MA 02453

Electronic copy provided to:                   Tim Ayotte
                                               Doug Barry

Entity:                                       Alere Inc.
                                              Entity ID Number 2520058
Entity Served:                                Alere, Inc.
Title of Action:                              Arcare, Inc. vs. Alere, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Violation of State/Federal Act
Court/Agency:                                 White County Circuit Court, Arkansas
Case/Reference No:                            73CV-2017-50-1
Jurisdiction Served:                          Delaware
Date Served on CSC:                           02/09/2017
Answer or Appearance Due:                     30 Days
Originally Served On:                         csc
How Served:                                   Certified Mail
Sender Information:                           Randall K. Pulliam
                                              501-312-8500

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 I sop@cscglobal.com




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                     Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 6 of 68
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                        IN THE CIRCUIT CQl.JRT OF WHITE COUNTY, ARKANSAS
                                          CIVIL DIVISION

                                     ARCARE. INC. V. ALERE. INC., ET AL.

                                              CASE NO. 73CV-2017-50-1


                                                  SUMMONS
         THE STATE OF ARKANSAS TO DEFENDANT:

         ALERE, INC.

         A lawsuit has been filed against you. The relief demanded is stated in the attached Complaint.
         Within thirty (30) days after service of this summons on you (not counting the dayyou received
         it) - or sixty (60) days if you are incarcerated in any jail, penitentiary or other corrections facility
         in Arkansas - you must file with the Oerk of this Court a written answer to the Complaint or
         a Motion under Rule 12 of the Arkansas Rules of Civil Procedure. U you desire to be
         represented by an attorney, you should immediately contact your attorney so that an answer
         can be filed for you within the time allowed.

         The Answer or Motion must also be served on the Plaintiff's attorney, whose name and address
         are:

         RANDALL K. PULLIAM
         CARNEY, BATES &t PULLIAM, PLLC
         519 WEST '7fll STREET
         LITTLE ROCK, ARKANSAS 72201

         If you fail to respond within the applicable time period, judgment by default may be entered
         against you for the relief demanded in the Complaint.

         Additional notices:
         Address of the Oerk's Office                                                          CLERK OF THE COURT

         301 W. Arch
                                                         ""' ''''
                                                   ''''"CIRCu'/'                                        §erk2f:_
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                       IN THE CIRCUIT COURT OF WHITE COUNTY, ARKANSAS
                                        CIVIL DIVISION         .

                                 ARCARE. INC. V. ALERE, INC., ET AL.

      No. 73CV-2017-50-1                                     This Summons is for ALERE, INC.


                                            PROOF OF SERVICE


       0    I   personally delivered the Complaint          and    Summons to the          individual   at
            - - - - - - - - - [ p l a c e ] on                          (date]; or

       Cl   I left the Complaint · and Summons in the proximity of the individual by
            - - - - - - - - - - a f t e r he/ she refused to receive it when I offered it to him/her; or

       0    I left the Complaint and Summons at the individual's dwelling house or usual place of abode at
            - - - - - - - - - - [address] with                                        [name], a person at
            least 14 years of age who resides there, on                 [date]; or

       0    I delivered the Complaint and Summons to                    [name of individual], an
            agent authorized by appointment or law to receive service summons on behalf of
            - - - - - - - - - - - - - - [ n a m e of defendant] on                   [date]; or
                                                                   '·
        0   I am the Plaintiff or an attorney of record for the Plaintiff in this lawsuit, and I served the
            Summons and Complaint on the Defendant by certified mail, return receipt requested, restricted
            delivery, as shown by the attached signed return receipt.

        0   I am the Plaintiff in this lawsuit. I mailed a copy of the Summons and Complaint by First-Oass
            mail to the Defendant together with two copies of a notice and acknowledgement and received
            the attached notice and acknowledgement form within twenty (20) days after the date of
            mailing.

        O   Other [specify]: - - - - - - - - - - - - - - - - -

        0   I was unable to execute service because: - - - - - - - - - - - - - - -

        My fee is$._ _ _ _ _ __
                   Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 8 of 68
._;.




                  TO BE COMPLETED IF SERVICE IS BY A SHERIFF OR DEPUTY SHERIFF:

       Date: _ _ _ _ __                     SHERIFF OF                      COUNTY,-----
                                                   By:_ _ _ _ _ _ _ _ _ __
                                                   [Signature of Server]


                                                   [Printed name, title and badge number]




        TO BE COMPLETED IF SERVICE IS BY A PERSON OTHER THAN A SHERIFF OR DEPUTY
                                          SHERIFF:

       Date:-------                                By:·---~-~-~--~~
                                                    [Si~ture   of Server]


                                                    [Printed name]

       Address:

       Phone:


       Subscribed and sworn before me this date:


                                                    (Notary Public]

       My Commission Expii-es:




       Additional information regarding service or attempted service:
                 Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 9 of 68

     i.

·;
                                                               COVERSHEET
                                                            STATE OF ARKANSAS
                                                            CIRCUIT COURT: CIVIL

          The civil reporting form· and the information contained herein shall not be admissible as evidence l""ny
          court proceeding or replace or supplement the filing and service of pleadings, orders, or other pap


          Instructions are available at https://coun:s.arkansas.gov.




          County•at;. F
          Judge:~
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                                                  Division:
                                                             ~?£
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                                                                                        Filing Date:
                                                                                        case ID: Q
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                                                                                                                         17


          Type of case (select one that best describes the subject matter)
           Torts                              Real Property                                      Miscellaneous Civil
           o (NM} Automobile                  o (CD) Condemnation/Eminent                        o (AP) Administrative Appeal
           o (IT) Intentional                    Domain                                          o (EL) Election
           a (MP) Malpractice - Medical       a (UD) Landlord/Tenant                             a (FV) Foreign Judgment - Civil
           a (MO) Malpractice - Other           Unlawful Detainer                                a (FR} Fraud
           o {LP) Premises- Liability         o {UO) Landlord/Tenant -                           o (IJ) Injunction
           o {PL) Product Liability             Other                                            o {CF) Property Forfeiture
           o (OF) Slander/Libel/              a (FC) Mortgage Foreclosure                        o {RF) Register Arkansas
              Defamation                      a (QT) Real PropertY-Other                            Judgment
           o {OD) Torts- Other                                                                   a (WT) Writ - Other
            Contracts                                                                            ~{OM) Civil - Other
            o (BP) Buyer Plaintiff
            a (EM) Employment Discrimination
            a (EO) Employment - Other
            o (DO) Seller Plaintiff {Debt Collection)
            o (OC) Contract - Other
                                      Plaintiff                                                    Defendant
            Company/                                                        Company/               Alere, Inc.; Alere Home
            last Name                Arcare, Inc:                           last Name              Monitorin2, Inc.
            Suffix                                                          Suffix
            First Name                                                       First Name
            Dl/State ID                                                      Dl/State ID
            Address                                                          Address
            Citv, State ZIP                                                  City, State ZIP
           'Phone                                                            Phone
            Email                                                            Email
            Self-represented I o Yes IXNO                                  · Self-represented I o Yes   oNo
            DOB                                                              DOB
            Interpreter        a Yes:--------                                Interpreter        o Yes:--------
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            needed?            o No                                          needed?            o No
           Attorney of Record: Randall K. Pulliam                                      Bar#: --2llil.S.
           For the: rX Plaintiff   o Defendant .a Intervenor                    Email Address: rpulliam@cb.plaw.com
           Related case(s): Judge:                                                     Case ID(s):_ _ _ _ _ _ _ __
           Manner of filing (choose one): .                  IX (MFO) Original                      a (MFR+case type) Re-open
                                                             o {MFT) Transfer                       o (MFF) Reactivate


           1                                                                                                                 1/1/2017
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                   IN THE CIRCUIT COURT OF WIDTE COUNTY, ARKANSAS


 ARCARE, INC.
                                                                                       ~,TIFF

 v.                                     CASE NO.      ........,.... 'I _,_   I I

 ALERE, INC.;
 ALEREHOME
 MONITORING, INC.
                                 CLASS ACTION COMPLAINT

        Plaintiff, ARcare, Inc. ("Plaintiff"), on behalf of itself and all others similarly situated,

 brings this Complaint against Defendant Alere, Inc. and Defendant Alere Home Monitoring, Inc.

(collectively "Defendants") for violations of the federal Telephone Consumer Protection Act.

Plaintiff seeks certification of its claims against Defendants as a class action.        In support,
Plaintiff states as follows:

                                         INTRODUCTION

        1.      This case challenges Defendants' policy and practice of faxing advertisements

without providing an adequate opt-out notice as required by law.

        2.      Congress enacted the Telephone Consumer Protection Act ("TCPA"), 47 U.S.C. §

227, to regulate the fast-growing expansion of the telemarketing industry. As is pertinent here,

the TCPA and its implementing regulations prohibit persons within the United States from

sending advertisements via fax without including a detailed notice that allows recipients to

expeditiously opt out of receiving future solicitations.

       3.      Junk faxes disrupt recipients' peace, drain recipients' paper, ink, and toner, and

cause recipients tangible damages. Junk faxes also cause recipients to waste valuable time

retrieving and discerning the purpose of the faxes; prevent fax machines from receiving and

sending authorized faxes; and cause undue wear and tear on recipients' fax machines. Plaintiff
     Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 11 of 68




offers pharmaceutical services and must use its fax machine to receive communications about

patients. That purpose is impeded when Plaintiff's fax machine is invaded by junk faxes.

        4.       The TCPA provides a private right of action and statutory damages of $500 per

violation, which may be trebled when the violation is willing or knowing.

        5.       On behalf of itself and all others similarly situated, Plaintiff brings this case under

the TCPA to recover declaratory relief, damages for violations of the TCPA, and an injunction

prohibiting Defendants from futW'e TCPA violations.

                                     JURISDICTION AND VENUE

        6.       This Court bas jurisdiction over Defendants because they do business in

Arkansas, including but not limited to sending the junk advertising faxes to Arkansas residents

and companies, including Plaintiff ARcare. 1

        7.       Venue in this district is proper because the facility that received unsolicited junk

faxes from Defendants is located in White County: Bald Knob Medical Clinic.

                                                    PARTIES

        8.       Plaintiff ARcare is an Arkansas non-profit corporation located in Augusta,

Arkansas.



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  Plaintiff originally sought to adjudicate this dispute by filing an action in the federal distri~ court in which
Defendant Alere's principal place of business is located - Massachusetts. However, Defendants took the position
that Plaintiff does not have Article Ill standing to remedy the invasion of its statutory rights in a federal court of
limited jurisdiction. SeeARcare v. A/ere, Inc. et al, Case No. 1:16-cv-12093, Diet. No. 18 (0. Mass. Oct. 19, 2016).
Consistent with Defendants' position. Plaintiff now files this action in this court of general jurisdiction consistent
with Arkansas jurisprudence. See Daughhetee v. Shipley, 282 Ark. 596, 669 S. W .2d 886 (Ark. 1984) (..the courts are
instituted to afford relief to persons whose rights have been invaded, or are threatened with invasion, by the
defendant's acts or conduct and to give relief at the instance of such persons." quoting 59 Am. Jur. 2d Parties§ 26
(1971)); Chubb Lloyds Ins. Co. v. Miller County Circuit Court, 2010 Ark. 119, 361 S.W 3d 809, 812 (Ark. 2010)
(holding that the issue of standing '"is a question of state law,"' and '"federal cases based on Article lU of the U.S.
COnstitution are not controlling."' quoting David Newbern & John Watkins, 2 Arkansas Civil Practice and
Procedure, § 7-3 at 155 (4th ed. 2006)). As detailed in this Complaint, Plaintiff's statutory rights under the TCPA
have been invaded by Defendants' acts of transmitting unsolicited junk faxes without the required opt-out notice;
accordingly, Plaintiff bas standing to adjudicate this action in Arkansas state court.


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,,   ..       Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 12 of 68




                 9.      Defendant Alere, Inc. is a company that is a global diagnostic device and service

          provider. It has its principal place of business in Waltham, Massachusetts, and is organized under

          the laws of Delaware.

                 10.     Defendant Alere Home Monitoring, Inc. is a company that provides home

          anticoagulation monitoring services and related products. It has its principal place of business in

          California, and is organized under the laws of Delaware.

                                                       FACTS
                 11.     During the Class Period, Defendants sent an unsolicited advertisement to

          Plaintiff's ink-and-paper facsimile machine. The fax advertises Defendants' home INR

          monitoring program. The fax informs the recipient that "Our home INR monitoring program

          makes managing warfarin simple and convenient for you and your patients."(emphasis in

          original). The fax implores the recipient to receive further·infonnation about the service: "Call

          us at 877.262.4669, option 4 to provide your Verbal Order and a representative will explain next

          steps. Alere Home Monitoring takes care of the rest." (emphasis in the original). A copy oftbis

          facsimile is attached hereto and marked as Exhibit A.

                  12.    Exhibit A is an exemplary of the junk faxes Defendants send.

                  l 3.   Upon information and belief, Plaintiff has received multiple fax advertisements
                                                         \
          from Defendants similar to Exhibit A.

                  14.    Defendants also sent two other faxes advertising their home INR monitoring

          program during the Class Period. These faxes have been attached as Exhibit 8.

                  15.    Defendants did not have Plaintiff's prior express invitation or permission to send

          advertisements to Plaintiff's fax machine.




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       16.      Defendants' faxes do not contain opt-out notices that comply with the

requirements of the TCPA.

                                    CLASS ALLEGATIONS

       17.      In accordance with Ark. R. Civ. P. 23, Plaintiff brings this action on behalf of the

following class of persons (the "Class"):

       All persons and entities who held telephone numbers that received one or more
       telephone facsimile transmissions that ( 1) promoted the commercial availability
       or quality of property, goods or services offered by "Alere" and (2) did not state
       on the first page that the fax recipient may make a request to the sender not to
       send any futW'e ads and that the sender's failure to comply, within 30 days, with
       such a request is unlawful.

       18.      Plaintiff reserves the right to modify or amend the definition of the proposed

Class before the Court determines whether certification is proper, as more information is gleaned

in discovery.

        19.     Excluded from the Class are Defendants, any parent, subsidiary, affiliate, or

controlled person of Defendants, as well as the officers, directors, agents, servants, or employees

of Defendants and the immediate family members of any such person. Also excluded are any

judge who may preside over this case and any attorneys representing Plaintiff or the Class.

        20.     Numerositv [Ark. R. Civ. P. 23(a)(l)]. The Members of the Class are so numerous

that joinder is impractical. Upon information and belief, Defendants have sent illegal fax

advertisements to hundreds if not thousands of other recipients.

        21.     Commonality [Ark. R. Civ. P. 23(a)(2)J. Common questions of law and fact apply

to the claims of all Class Members and include (but are not limited to) the following:

                a.      Whether Defendants sent faxes promoting the commercial availability or

        quality of property, goods, or services;




                                                   4
    Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 14 of 68




              b.      The manner and method Defendants used to compile or obtain the list(s)

      of fax numbers to which they sent the faxes attached as Exhibit A and Exhibit B to

      Plaintiff's Class Action Complaint and other unsolicited fax advertisements;

              c.      Whether Defendants faxed advertisements without first obtaining the

      recipient's express permission or jnvitation;

              ·d.     Whether Defendants' advertisements contained the opt-out notices

       required by the law;

              e.      Whether Defendants sent fax advertisements knowingly or willfully;

               f.      Whether Defendants violated 47 U.S:C. § 227;

              g.       Whether Plaintiff and the other Class members are entitled to statutory

       damages;

               h.      Whether the Court should award trebled damages; and

               i.      Whether Plaintiff and the other Class Members are entitled to declaratory,

       injunctive, or other equitable relief.

       22.     Tvpicality [Ark. R. Civ. P. 23(a)(3)). Plaintiff's claims are typical of the claims

of all Class Members. Plaintiff received unsolicited fax advertisements without adequate opt-out

notices from Defendants dming the Class Period. Plaintiff makes the same claims that it makes

for the Class Members and seeks the same relief that it seeks for the Class Members. Defendants

have acted in the same manner toward Plaintiff and all Class Members.

       23.     Fair and Adeguate Representation [Ark. R. Civ. P. 23(a)(4)]. Plaintiff will fairly

and adequately represent and protect the interests of the Class. It is interested in this matter, has

no conflicts, and has retained experienced class counsel to represent the Class.




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    Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 15 of 68




       24.    Predominance and Superiority [Ark. R. Civ. P. 23(b)(3)]. For the following

reasons, common questions of law and fact predominate and a class action is superior to other

methods of adjudication:

              (a) Proof of Plaintiff's claims will also prove the claims of the Class without the

                   need for separate or individualized proceedings;

              (b) Evidence regarding defenses or any exceptions to liability that Defendants

                   may assert will come from Defendants' records and will not require

                   individualized or separate inquiries or proceedings;

              (c) Defendants have acted and continue to act pursuant to common policies or

                   practices in the same or similar manner with respect to all Class Members;

              (d) The amount likely to be recovered by individual Members of the Class does

                   not support individual litigation. A class action will permit a large number of

                   relatively small claims involving virtually identical facts and legal issues to

                   be resolved efficiently in one proceeding based on common proofs;

              (e) This case is inherently well-suited to class treatment in that:

                    (i)    Defendants identified persons or entities to receive their fax

                           transmissions, and it is believed that Defendants' computer and

                           business records will enable Plaintiff to readily identify Class

                           Members and establish liability and damages;

                    (ii)   Common proof can establish Defendants' liability and the damages
                                                                                          I


                           owed to Plaintiff and the Class;




                                                 6
    Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 16 of 68




                      (iii) Statutory damages are provided for in the statutes and are the same for

                            all Class Members and can be calculated in the same or a similar

                            manner;

                      (iv) A class action will result in an orderly and expeditious administration

                            of claims, and it will foster economies of time, effort, and expense;

                      (v)   A class action will contribute to uniformity of decisions concerning

                            Defendants' practices; and

                      (vi) As a practical matter, the claims of the Class are likely to go

                            unaddressed absent class certification.

                                      CLAIMS FOR RELIEF

                                            COUNT ONE
                      Violations of the Telephone Consumer Protection Act
                      47 U.S.C. § 227(b)(J)(C) and 47 C.F.R. § 64.1200(a)(4)

       25.     Plaintiff hereby incorporates by reference each of the preceding paragraphs as

though fully set forth herein.

       26.     The TCPA provides strict liability for sending fax advertisements in a manner that

does not comply with the statute. Recipients of fax advertisements have a private right of action

to seek an injunction or damages for violations of the TCPA and its implementing regulations. 47

u.s.c. § 227(b)(3).
        27.    The TCPA makes it unlawful to send any ''unsolicited advertisement" via fax

unless certain conditions are present. 47 U.S.C. § 227(b)(l)(C). "Unsolicited advertisement" is

defined as "any material advertising the commercial availability or quality of any property,

goods, or services which is transmitted to any person without that person's prior express

invitation or pennission, in writing or otherwise." 47 U .S.C. § 227(a)(5).



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       28.     Unsolicited faxes are illegal if the sender and recipient do not have an

"established business relationship." 47 U.S.C. § 227(b)(l)(C)(i). "Established business

relationship" is defined as "a prior or existing relationship formed by a voluntary two-way

communication between a person or entity and a business or residential subscriber with or

without an exchange. of consideration, on the basis of an inquiry, application, purchase or

transaction by the business or residential subscriber regarding products or services offered by

such person or entity, which relationship has not been previously terminated by either party." 47

U.S.C. § 227(a)(2); 47 C.F.R. § 64.1200(£)(6).

       29.       Regardless of whether the sender and recipi.ent have an established business

relationship, and regardless of whether the fax is unsolicited, a faxed advertisement is illegal

unless it includes an opt-out notice on its first page that complies with the TCPA's requirements.

See 41U.S.C.§227{b)(l)(C)(iii); 47 C.F.R. § 64.1200(aX4)(iv). To comply with the law, an opt-

out notice must (1) inform the recipient that the recipient may opt out of receiving future faxes

by contacting the sender; (2) provide both a domestic telephone number and a facsimile machine

number-one of which must be cost-free-that the recipient may contact to opt out of future

faxes; and (3) inform the recipient that the sender's failure to comply with an opt-out request

within thirty days is a violation of law. See 47 U.S.C. § 227(b)(2)(D); 47 CFR §

64. t 200(aX4)(iii).

        30.      Defendants faxed unsolicited advertisements to Plaintiff that did not have

compliant opt-out notices, in violation of 47 U.S.C. § 227(b)(l)(C) and 47 C.F.R. §

64.1200(a)(4).

        31.      Defendants knew or should have known (a) that Plaintiff had not given express

invitation or permission for Defendants to fax advertisements about their services and products;



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,       Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 18 of 68




    (b) that Defendants faxes did not contain a compliant opt-out notice; and (c) that Exhibit A and

    Exhibit B are advertisements.

           32.     Defendants' actions caused actual damage to Plaintiff and the Class Members.

    Defendants' junk faxes caused Plaintiff and the Class Members to lose paper, toner, and ink

    consumed in the printing of Defendants' faxes through Plaintiff's and the Class Members' fax

    machines. Defendants' faxes cost Plaintiff and the Class Members time that otherwise would

    have been spent on Plaintiff's and the Class Members' business activities.

           33.     In addition to statutory damages (and the trebling thereof), Plaintiff and the Class
                         ....
    are entitled to declaratory and injunctive relief under the TCPA.

                                        REQUEST FOR RELIEF

           WHEREFORE Plaintiff, individually and on behalf of all others similarly situated,

    respectfully requests that this Court:

                   a)           Determine that this action may be maintained as a class action under Rule

    23 of the Federal Rules of Civil Procedure;

                   b)           Declare Defendants' conduct to be unlawful under the TCPA;

                   c)           Award $500 in statutory damages under the TCP A for each violation, and

    if the Court detennines the violations were knowing or willful then treble those damages;
                                                                 \



                   d)           Enjoin Defendants from additional violations;

                   e)           Award Plaintiff and the Class their attorney's fees and costs;

                    f)          Grant such other legal and equitable relief as the Court may deem

    appropriate.

                                                 JURY DEMAND

            Plaintiff and the Members of the Class hereby request a trial by jury.

    DATED: February 2, 2017                Respectfully submitted,
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        Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 19 of 68

.   :




                         By:   Isl Randall K Pulliam


                               Randall K. Pulliam
                               rpulliam@cbplaw.com
                               CARNEY BATES & PULLIAM, PLLC
                               519 West 7th Street
                               Little Rock. Arkansas 72201
                               Telephone: (501) 312-8500
                               Facsimile: (501) 312-8505




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                                 Ofli<:e: 1 877 262.4669                                                                                                  .F·AX.-l'
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             Dear Health Care Provider:

   0.
            _For over 1~ years, Alere Home Monitoring has offered a variety of medical devices for Patient Self-Testing.
            Today, our Patient Self-testers use the Roche CoaguChek®XS meter - the same easy-to-use meter
            technology that healthcare professionals trust to give fast, accurate INR test results in office.

             You are receiving this letter because a voluntary withdrawal has been issued for one of the
             home INR meters we offered in the past. Details regarding the voluntary withdrawal are available at
             www.ior:eare.com. We are not aware of any patients that you have currently using the device subject
             to the voluntary withdrawal. Please contact us if this is not the case.

             The Roche CoaguChek<llXS is not impacted by the voluntary withdrawal and Alere Home Monitoring
             is not making any change to our services. Patients may continue to use the Roche CoaguChek!!>XS
             meter as prescribed by their physician.

             Our home INR monitoring program makes managing warfarin simple and convenient for you and your
             patients. plus it is proven to improve results for patients on anticoagulation therapy. 1

             Enrolling patients is easy: Call us at 877.262.4669, option 4 to provide your Verbal Order and a
             representative will explain next steps. Alere Home Monitoring takes care of the rest. We will verify
             insurance coverage, advise the patient of any potential out-of-pocket cost, and arrange for their Face-2-
             Face• training on the meter.

              Please call us today with any questions. Knowing now matters.™

              Regards,

             Alere Home Monitoring, Inc.




              ---·- -------
              Confidential No1ic11: ni .. in!<>miation r.ont11Jned ill lh111 f:lf"4irnil11 lransmis.~ion is pnvileged nntf wnfinentiul. 1nt'30dt>d l0t· thP. us~ of the adrll·Rs:<"" ii:;tftd oro th-..
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                           Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 21 of 68

• ~ 06/01/2016 5:58 PM                                    United Healthcare                -> 1501n433os                              Dl




                                                     CONTRACT ANNOUNCEMENT
                                                                          Alere Home Monitoring, Inc.


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            We are pleased to announce UnitedHea.lthcare is now contracted with
              Alere Home Monitoring for the provision of INR home monitoring
                                         services.

            UnitedHealthcare members who meet medical coverage criteria may
              qualify for PT/INR self-testing services of the Alere™ Home INR
                                     Monitoring program.

          To refer a patient, please call 1 Jrl7.~6~.4Sf.•9 or fax to 925.606.6978.


                                  Alere Home Monitoring, Inc.
          re"tata.,               PTINR.com®

                                                                  0     ""Mo~ All<Oh• -••"' Tho"'" Loa• "'" ~• PTI"E'~"hibit'~ B.:i';;~~'~
                             Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 22 of 68

C9 06701/2016 5:58 PM                             United Healthcare                                    ·~   15017243305                                                                                02

   Alere™ Home INR Monitoring Physician Form
   1. PATIENT INFORMATION
   First Name, M .I., Last Name                                                                                Date of Birth


    PatiEr11t Phone Number(s)                                                                                  Patlel"lt Email


   0     Additional Patient information attached
                                                    /~~--====--====:===========~~----
                                                           2.  INR

                                               __
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   Warfarin Start Date:                                                                                                                                   TO
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   Month                     Day                       Year                           comrn.nicate INR t~st :esuh based on Phys ca- Office Prefe'ences,

   3,    PHYSICIAN INFORMATION
   Prescribing Physician Name                                                                                   NPI#


    Address (Prescribing Physician)


    Group Practice or Hospital Name (Prescribing PhySlclan)                                                      Prescribing Office phone                              Office fax

    Managing Pnysician. Practice or Clinic Name                                                                 Managing Office phone                                  Office fax


    INR MONITORING SYSTEM                                                                                      ·4. DIAONOSIS* (ch6ck UfJ to iour)
    Patient will be provided            an INR Meter and strips approved tor home                               ICD•10·CM   Description
    use. Available meters do not have approval for pediatric use.                                                 CODE

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    CJ My staff wHI train the patient                                                                           CJZ79.01               Long term (current) use of anticoagt~ents
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          training on the prescribed monitor and home INR testing
    Physician can determine Office Preferences for Monitor lype,
    Reporting Instructions and Training Prefarence with e11 Alere Home
    Monitoring Sales Representarive.
    7.   STATEMENT OF MEDICAL NECESSITY/ PRESCRIPTION
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    patient or their caregiver d911e1®9 a condition that mak'99 self·IHtir.g urae..'e.
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                           FAX COMPLETED FORM AND PATIENT INFORMATION TO 1 .925.606.6978
                          Alere Home Mon~oring. Inc. • 6465 National Drive• Livermo·e. CA 94550 •Phone 1.877.25'2.4669 • ptinr.com
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                    IN THE CIRCUIT COURT OF WIIlTE COUNTY, ARKANSAS


ARCARE, INC.                                                                              PLAINTIFF

v.                                     CASENO. ~~~~~

ALERE, INC.;
ALEREHOME
MONITORING, INC.                                                                      DEFENDANTS

                         PLAINTIFF'S FIRST SET OF INTERROGATORIES

       Plaintiff, pursuant to Rules 26 and 33 of the Arkansas Rules of Civil Procedure, requests

that Defendants provide answers to-the following Interrogatories within 45 days of service to the

undersigned counsel, or at such other time and place and in such manner as the parties may

mutually agree.

                                             INSTRUCTIONS

        1.     These requests are to be responded to separately and fully, in writing, within 45

days of the date of service.

       2.       You are to produce all requested documents and things in your possession, custody

or control. If you object to any request, specify the part to which you object, state your objection(s),

state all factual   ~d   legal justifications which support your objection(s), and respond to the

remainder of the request to which you do not object.

        3.     If any document(s) requested was, but is no longer, in existence, state whether it is:

(a) missing or lost; (b) destroyed; (c) transferred voluntarily or involuntarily to others, and if so,

to whom; or (d) otherwise disposed of and, in each such instance, explain the circumstances

surrounding an authorization for such disposition and the approximate date thereof.

       4.       Each request for production spall be construed to include information and

documents within your knowledge, possession or control as of the date of your responses to these
       Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 24 of 68
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requests for production and any supplemental information and documents responsive to these

requests generated, obtained or discovered after the date of your original responses.

        5.        You are required to promptly supplement your responses to these requests

throughout.the duration of this action.

        6. ·      Pursuant to Arkansas Rule of Civil Procedure 34(b)(2)(E)(i), please organize and

label the documents you produce so as to indicate the request or requests to which they respond.

        7.        If you contend that any requested document$ are protected by the attorney-client

privilege, the attorney work product doctrine or any other legally recognized privilege, provide a

list showing each document withheld and, as to each, state (a) the type of document (e.g., letter,

memo, e-mail), (b) name and title or position of the author(s), (c) name and title or positfon of the

recipient(s), including all cc: and bee: reeipient(s), (d) the date of the document, (e) the title or

subject matter, (f) the privilege or privileges claimed, and (g) the document request or requests to

which the c;locument relates.

        8.        All definitions set forth below are incorporated by reference into the following

requests as if fully set forth therein.

                                  TIME FRAME OF REQUESTS

        1.        Unless otherwise stated, the time period covered by these requests is June 1, 2012

to the present.

                                              DEFINITIONS

        1.        You," "Your" and/or "Defendants" means and refers to the above-named

Defendants, including their current and former officers, directors, employees, attorneys, agents

and representatives, and any affiliated entities.




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           2.      "Documents" means any tangible thing, writing, recording or reproduction in any

    manner, any visual or auditory data in ·your possession, custody or control, including without

    limitation, electronically stored information as defined by Ark. R. Civ. P. 26 and 34, computer

    data bases, hard drives, storage tapes or disks, all e-mail data (including attachments thereto), any

    digital version of any requested information, and any papers or other format on which words have

    been written, printed, typed, digitally embedded or otherwise affixed, correspondence,

    memoranda, transcripts, stenographic or handwritten notes, telegrams, telexes, facsimiles, letters,

    reports, budgets, forecasts, presentations, analyses, training or instructional handbooks or manuals,

    graphs or charts, ledgers, invoices, diaries or calendars, minute books, meeting minutes, computer

    print-outs, prospectuses, financial statements, checks, bank statements, annual, quarterly or other

    filings with any governmental agency or department, annual reports (including schedules thereto),

    statistical studies, articles appearing in publications, press releases, video or audio tapes, and shall

    mean originals or a copy where the original is not in your possession, custody or control, and every

    copy of every document where such copy is not an identical copy of an original (whether different

    from the original by reason of any notation made on such copy or for any other reason).

            3.     "Communication" means any oral utterance made, heard or overheard to another

    person or persons, whether in person or by telephone or otherwise, as well as every written

    document and every other mode of intentionally conveyed meaning.

           4.       As used herein, the words "pertaining to," "regarding," or "reflecting" shall mean:

    relating to, referring to, containing, concerning, describing, mentioning, constituting, supporting,

    corroborating, demonstrating, proving, evidencing, refuting, disputing, rebutting, controverting

    and/or contradicting.




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       5.      Words in the singular include the plural, and vice versa, and the words "and" and

"or" include "and/or." The past tense includes the present tense when the clear meaning is not

distorted by the change of tense.

       6.      "Electronic Information" means and refers to all data, reports, and documents. It

includes, but is not limited to, the equivalent information to the electronic information previously

produced by You in this litigation.

       7.      "Advertisement" means any material advertising the commercial availability or

quality of any property, goods, or services.    .;::;::;.,

       8.      "Opt-Out Notice" means a statement within a facsimile informing the recipient that

it may make a request to the sender of the facsimile advertisement not to send any future

advertisements to a telephone facsimile machine or machines and that the sender's failure to

comply within 30 days of receiving such a request is unlawful.

       9.      "Expressly Invited" and/or "Expressly Granted Permission" means the manner in

which the recipient of a facsimile(s) affirmatively conveyed to the sender of the facsimile(s) its

desire to receive such facsimile(s).

                                           INTERROGATORIES

INTERROGATORY No. 1:

       Identify the means by which you purport ARcare, Inc. provided express invitation or

permission to receive the faxes attached to the Complaint.

INTERROGATORY No. 2
                                       I

       Identify the means by which other recipients of Your faxes provided express invitation or

permission to receive the faxes attached to the Complaint.

INTERROGATORY No. 3


                                                 4
            Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 27 of 68
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            Identify any entity or individual with whom You have consulted regarding compliance

    with the Telephone Consumer Protection Act.

    INTERROGATORY No. 4

            Identify any entity or individual from whom you acquired the fax numbers to which Your

    faxes were sent.

    INTERROGATORY No. S

            Identify the total amount of fax numbers to which you have sent the document identified

    as Exhibit A to the Complaint since June l, 2012

    INTERROGATORY No. 6

            Identify the total amount of fax numbers to which you have sent ~e documents identified

    as Exhibit B to the Complaint since June I, 2012.

    INTERROGATORY No. 7

            Identify the total amount of fax numbers to which you have sent faxes since June l, 2012.

    INTERROGATORY No. 8

            Identify the total amount of fax numbers to which you have sent Advertisement faxes

    since June 1, 2016.

    DATED: February 6, 2017.                            Respectfully subm~tted,   G
                                                 By:     ·     Yu~
                                                        Joseph Henry (Hank) Bates
                                                                                     1~)
                                                        hbates@cbplaw.com
                                                        Randall K. Pulliam, Esq.
                                                        rpulliam@cbplaw.com
                                                        CARNEY BATES & PULLIAM, PLLC
                                                        519 West 7th Street
                                                        Little Rock, Arkansas 7220 l
                                                        Telephone: (501) 312-8500
                                                        Facsimile: (501) 312-8505


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..              Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 28 of 68
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                                             CERTIFICATE OF SERVICE

                I certify that a true and correct copy of the foregoing has been served via hand delivery this 6th
         day of February, 2017, upon:

         Alere, Inc.
         c/o Corporation Service Company
         2711 Centerville Rd., Suite 400
         Wilmington, DE 19808

         Alere Home Monitoring, Inc.
         c/o Corporation Service Company
         2711 Centerville Rd., Suite 400
         Wilmington, DE 19808

                                                               ~4                 C)~J
                                                        Joseph Henry.  (~ank)   Bates




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                          IN THE CIRCUIT COURT OF WHITE COUNTY, ARKANSAS


        ARCARE, INC.                                                                            PLAINTIFF

        v.                                    CASENO.~~~~~

        ALERE, INC.;
        ALEREHOME
        MONITORING, INC.                                                                    DEFENDANTS

                      PLAINTIFF'S FIRST SET OF REQUESTS FOR PRODUCTION

               Plaintiff, pursuant to Rules 26 and 34 of the Arkansas Rules of Civil Procedure, requests

        that Defend!lJlts produce the documents and things described herein for inspection and copying in

        accordance with Rules 26 and 34.

                                                INSTRUCTIONS

                1.     These requests are to be responded to separately and fully, in writing, within 45

        days of the date of service.

               2.      You are to produce all requested documents and things in your possession, custody

        or control.   If you object to any request, specify the part to which you object, state your

        objection(s), state all factual and legal justifications which support your objection(s), and respond

        to the remainder of the request to which you do not object.

               3.      If any document(s) requested w~. but is no longer, in existence, state whether it is:

        (a) missing or lost; (b) destroyed; (c) transferred voluntarily or involuntarily to others, and if so,

        to whom; or (d) otherwise disposed of and, in each such instance, explain the circumstances

        surrounding an authoriution for such disposition and the approximate date thereof.

               4.      Each request for production shall be construed to include information and

        documents within your knowledge, possession or control as of the date of your responses to these




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             Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 30 of 68
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     requests for production and any supplemental information and documents responsive to these

     requests generated, obtained or discovered after the date of your original responses.

             5.        You are required to promptly supplement your responses to these requests

     throughout the duration of this action.

             6.        Pursuant to Arkansas Rule of Civil Procedure 34(b)(2)(E)(i), please organize and

     label the documents you produce so as to indicate the request or requests to which they respond.

             7.        If you contend that any requested documents are protected by the attorney-client

     privilege, the attorney work product doctrine or any other legally recognized privilege, provide a

     list showing each document withheld and, as to each, state (a) the type of document (e.g., letter,

     memo, e-mail), (b) name and title or position of the author(s), (c) name and title or position of the

     recipient(s), including all cc: and bee: recipient(s), (d) the date of the document, (e) the title·or

     subject matter, (f) the privilege or privileges claimed, and (g) the document request or requests to' ·

     which the document relates.

             8.        All definitions set forth below are incorporated by reference into the following

     requests as if fully set forth therein.

                                       TIME FRAME OF REQUESTS

             1.        Unless otherwise stated, the time period covered by these requests is June l, 2012

     to the present.

                                                DEFINITIONS

             I.        "You," "Your" and/or "Defendants" means and refers to the above-named

     Defendants, including their current and former officers, directors, employees, attorneys, agents

     and representatives, and any affiliated entities.




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       2.      "Documents" means any tangible thing, writing, recording or reproduction in any

manner, any visual or auditory data in your possession, custody or control, including without

limitation, electronically stored information as defined by Ark. Civ. P. 26 and 34, computer data

bases, hard drives, storage tapes or disks, all e-mail data (including attachments thereto), any

digital version of any requested information, and any papers or other format on which words have

been written, printed, typed, digitally embedded or otherwise affixed, correspondence,

memoranda, transcripts, stenographic or handwritten notes, telegrams, telexes, facsimiles, letters,

reports, budgets, forecasts, presentations, analyses, training or instructional handbooks or manuals,

graphs or charts, ledgers, invoices, diaries or calendars, mim~te books, meeting minutes, computer

print-outs, prospectuses, financial statements, checks, bank statements, annual, quarterly or other

filings with any governmental agency or department, annual reports (including schedules thereto),

statistical studies, articles appearing in publications, press releases, video or audio tapes, and shall

mean originals or a copy where the original is not in your posse,ssion, custody or control, and every

copy of every document where such copy is not an identical copy of an original (whether different

from the original by reason of.any notation made on such copy or for ariy other reason).

       3.      As used herein, the words "pertaining to," "regarding," or "reflecting" shall mean:

relating to, referring to, containing, concerning, describing, mentioning, constituting, supporting,

corroborating, demonstrating, proving, evidencing, refuting, disputing, rebutting, controverting

and/or contradicting.

       4.      Words in the singular include the plural, and vice versa, and the words "and" and

"or" include "and/or." The past tense includes the present tense when the clear meaning is not

distorted by the change of tense.




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            5.      "Electronic Information" means and refers to all data, reports, and documents. It

     includes, but is not limited to, the equivalent information to the electronic information previously

     produced by You in this litigation.

            6.      "Advertisement" means any material advertising the commercial availability or

     quality of any property, goods, or services.

            7.      "Opt-Out Notice" means a statement within a facsimile informing the recipient that

     it may make a request to the sender of the facsimile advertisement not to send any future

     advertisements to a telephone facsimile machine or machines and that the sender's failure to

     comply within 30 days of receiving such a request is unlawful.

            8.      "Expressly Invited" and/or "Expressly Granted Permission" means the manner in

     which the recipient of a facsimile(s) affirmatively conveyed to the sender of the facsimile(s) its

     desire to receive such facsimile(s)

            9.      "Your Faxes" means the faxes described and requested in Requests for Production

     No 1 through 4.

                                    REQUESTS FOR PRODUCTION

            REQUEST No. 1:

            Copies of all faxes that You sent or that were sent on Your behalf.

             REQUEST No. 2:

            Copies of all fax Advertisements that You sent or that were sent on Your behalf.

            REQUEST No~ 3:

            Copies of all faxes the same or substantially the same as the fax attached as Exhibit A to

     the Complaint that You sent or that were sent on Your behalf.

            REQUEST No. 4:


                                                      4
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            Copies of all faxes the same or substantially the same as the faxes attached as Exhibit B

     to the Complaint that You sent or that were sent on Your behalf.

            REQUEST No. 5:

            All Documents evidencing the fax numbers to which each of Your Faxes was sent.

            REQUEST No. 6:

            All Documents evidencing to the time and date each of Your Faxes was sent by You or

     on Your behalf.

            REQUEST No. 7:

             All Documents relating to the means and methods by which You acquired the fax

     numbers to which each of Your Faxes were sent.

             REQUEST No. 8:

             All Documents relating to any Agreement between You and a third party to have the third

     party send faxes on Your behalf.

             REQUEST No. 9:

             All Documents relating to any Communications between You and a third party to have

     the third party send faxes on Your behalf.

             REQUEST No. 10:

             All Documents You purport evidence Persons who expressly invited or expressly granted

     permission to receive Your Faxes.

             REQUEST No. 11:

             All Documents You purport evidence that any of Your Faxes were solicited by the

     recipients.

             REQUEST No. 12:



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       All Documents relating to any policies or practices used by You or any person employed

or contracted by You to ensure that recipients of Your Faxes expressly invited or expressly

granted permission to receive any of Your Faxes.

       REQUEST No. 13:

       All Documents relating to any of Your policies or practices regarding the inclusion of

Opt-Out Notices on Your Faxes.

       REQUEST No. 14:

       All Documents related to recipients who expressed a desire to no longer receive Faxes

from you.

       REQUEST No. 15:

       All Documents relating to any policies or practices used by You or any person employed

or contracted by You (1) to determine if a recipient expressed a desire to no longer receive Faxes

from you and (2) to ensure that the request is honored.

       REQUEST No. 16:

       All Documents produced by You in other litigation against You relating to alleged

violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227.

       REQUEST No. 17:

       All Documents produced by You to the Federal Communications Commission relating to

the Telephone Consumer Protection Act, 47 U.S.C. § 227.




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            Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 35 of 68




     DATED: February 6, 2017                       Respectfully submitted,      (-;

                                                   By:          J!,,_,_/f~          .Jc.)
                                                           Joseph Henry (Hank) Bates
                                                           hbates@cbplaw.com
                                                           Randall K. Pulliam, Esq.
                                                           rpulliam@cbplaw.com
                                                           CARNEY BATES & PULLIAM, PLLC
                                                           519 West 7m Street
                                                           Little Rock, Arkansas 72201
                                                           Telephone: (50 l) 312-8500
                                                           Facsimile: (501) 312-8505



                                         CERTIFICATE OF SERVICE

            I certify that a true and correct copy of the foregoing has been served via hand delivery this 6th
     day of February, .2017, upon:

     Alere, Inc.
     c/o Corporation Service Company
     2711 Centerville Rd., Suite 400
     Wilmington, DE 19808

     Alere Home Monitoring, Inc.
'\
     c/o Corporation Service Company
     2711 Centerville Rd., Suite 400
     Wilmington, DE 19808

                                                          11~·8~ {!_;'-)·
                                                    Joseph Henry (Hank) Bates




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                                                         CARNEY BATES & PULLIAM, PLLC
                                                                  519 West 7m Street
                                                                 Little Rock, AR 72201




                                                           ALERE, INC.
                                                           c/o Corporation Service Company
                                                           2711 Centerville Rd., Suite 400
                                                           Wilmington, DE 19808 ·
                 Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 37 of 68




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                                                                                                     Transmittal Number: 16225429
Notice of Service of Process                                                                            Date Processed: 02/10/2017

Primary Contact:           Todd Chiaramida
                           Ale re
                           51 Sawyer Road
                           Suite 200
                           Waltham, MA 02453

Electronic copy provided to:                   Doug Barry
                                               Tim Ayotte

Entity:                                       Alere Home Monitoring, Inc.
                                              Entity ID Number 2895713
Entity Served:                                Alere Home Monitoring, Inc.
Title of Action:                              Arcare, Inc vs. Alere, Inc
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Violation of State/Federal Act
Court/Agency:                                 White County Circuit Court, Arkansas
Case/Reference No:                            73CV-2017-50-1
Jurisdiction Served:                          Delaware
Date Served on CSC:                           02/09/2017
Answer or Appearance Due:                     30 Days
Originally Served On:                         csc
How Served:                                   Certified Mail
Sender Information:                           Randall K. Pulliam
                                              501-312-8500

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 I sop@cscglobal.com




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                   IN THE CIRCUIT COURT OF WHITE COUNTY, ARKANSAS
                                    CIVIL DIVISION

                                ARCARE, INC. V. ALERE, INC., ET AL.
                                                                               \         '
                                        CASE NO. 73CV-2017-50-1


                                         SUMMONS
    THE STATE OF ARKANSAS TO DEFENDANT:

    ALERE HOME MONITORING, INC.
    A lawsuit has been filed against you. The relief demanded is stated in the attached Complaint
    Wi~ thirty (30) days after service of this summons on you (not counting the day you received
    it) - or sixty (60) days if you are incarcerated in any jail, penitentiary or other corrections facility
    in Arkansas - you must file with the Clerk of this Court a written answer to the Complaint or
    a Motion under Rule 12 of the Arkansas Rules of Civil Procedure. If you desire to be
    represented by an attorney, you should immediately contact your attorney so that an answer
    can be filed for you within the time allowed.

    The Answer or Motion must also be served on the PlainPff's atto:r:ney, whose name and address
    are:

    RANDALL K. PULLIAM
    CARNEY, BATES & PULLIAM, PLLC
    519 WEST 7fH STREET .
    LITTLE ROCK, ARKANSAS 72201

    If you fail to respond within the applicable time period, judgment by default may be entered
    against you for the relief demanded in the Complaint          ·

    Additional notices:
    Address of the Oerk' s Office                                                             CLERK OF THE COURT
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                    IN THE CIRCUIT COURT OF WHITE COUNTY, ARKANSAS
                                     CIVIL DIVISION·

                                 ARCARE, INC. V. ALERE, INC., ET Al.

     No. 73CV-2017-50-1                     This Summons is for ALERE HOME MONITORING. INC.


                                            PROOF OF SERVICE


     D      I  personally delivered the Complaint           and    Summons      to the     individual   at
            - - - - - - - - - [ p l a c e ] on                             [date]; or

     a      I left the Complaint and Summons in the proximity of the individual by
            - - - - - - - - - - . a f t e r he/ she refused to receive it when I offered it to him/her; or
                                     I
     0      I left the Complaint and Summons at the individual's dwelling house or usual place of abode at
            - - - - - - - - - - [address} with                                       [name], a person at
            least 14 years of age who resides there, on               [date); or

     D      I delivered the Complaint and Summons to                    [name of individual], an
            agent authorized by appointment or law to receive service sununons on behalf of
            - - - - - - - - - - - - [ n a m e of defendant] on                       [date]; or

     a      I am the Plaintiff or an attorney of record for the Plaintiff in this lawsuit, and I served the
            Summons and Complaint on the Defendant by certified mail, return receipt requested, restricted
            delivery, as shown by the attached signed return receipt.

     a      I am the Plaintiff in this lawsuit. I mailed a copy of the Summons and Complaint by First-Oass
            mail to the Defendant together with two copies of a notice and acknowledgement and received
            the attached notice and acknowledgement form within twenty (20) days after the date of
            mailing.


     a      Other [specify]: - - ' - - - - - - - - - - - - - - - - -

     a      I was unable to execute service because: - - - - - - - - - - - - - - - -

     My fee is$._ _ _ _ _ __
                  Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 40 of 68
      ...



                  TO BE COMPLETED IF SERVICE IS BY A SHERIFF OR DEPUTY SHERIFF:

      Date:-------                          SHpRIFF OF                     COUNTY,-----
                                                  By: _ _ _ _ _ _ _ _ _ __
                                                  [Signature of Server]


                                                  [Printed name, title and badge number]

':.

            TO BE COMPLETED IF SERVICE IS BY A PERSON OTHER THAN A SHERIFF OR DEPUTY
                                              SHERIFF:
      Date: _ _ _ _ __                             By: _ _ _ _ _ _ _ _ _ _ __
                                                   [Signature of Server]


                                                   [Printed name]

      Address:

      Phone:


      Subscribed and sworn before me this date:


                                                   [Notary Public]

      My Commission Expires:




      Additional information regarding service or attempted service:
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•                                                            COVERSHEET
                                                     STATE OF ARKANSAS
                                                    CIRCUIT COURT: CIVIL

    The civil reporting form and the information contained herein shall not be admissible as evidence \~i\"V
    court proceeding or replace or supplement the filing and service of pleadings, orders, or other pa
    required by law or Supreme Court Rule. This form is required pursuant to Administrative Order Nu
    Instructions are available at https:/{couns.arkansas.gov.                                          1/



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    Judge:~
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    Type of case (select one that best describes the subject matter)
     Torts                                 Real Property                    Miscellaneous Civil
     o (NM) Automobile                     o (CD) Condemnation/Eminent o (AP) Administrative Appeal
     o (IT) Intentional                        Domain                       o (EL) Election
     CJ (MP) Malpractice - Medical         o (UD) Landlord/Tenant           CJ (FV) Foreign Judgment-Civil
     CJ (MO) Malpractice - Other              Unlawful Detainer             o (FR) Fraud
     o (LP) Premises- Liability            o (UO) Landlord/Tenant -         o (IJ) Injunction
     o (PL) Product liability                 Other                         CJ (CF) Property Forfeiture
     o (OF) Slander/libel/                 o (FC) Mortgage Foreclosure      o (RF) Register Arkansas
         Defamation                        o (QT) Real Property - Other         Judgment
     o (OD) Torts - Other                                                   CJ (WT) Writ - Other
     Contracts                                                              a((OM) Civil - Other
     o (BP) Buyer Plaintiff
     o (EM) Employment Discrimination
     o (EO) Employment - Other
     o (DO) Seller Plaintiff (Debt Collection)
     o (OC) Contract -Other
                            Plaintiff                                           Defendant
     Company/                                               Company/           Alere, Inc.; Alere Home
      last Name            Arcare, Inc.                     last Name          Monitoring, Inc.
     Suffix                                                 Suffix
      First Name                                            First Name
      Dl/State ID                                           Dl/State ID
      Address                                               Address
      Citv, State ZIP                                       City, State ZIP
      Phone                                                 Phone
      Email                                                 Email
      Self-represented     oYes         QC No               Self-represented oYes              oNo
      DOB                                                    DOB
      Interpreter          oYes:                             Interpreter       Oves:
                                          (language)                                         (language)
      needed?              oNo                               needed?           oNo
     Attorney of Record:        Randall K. Pulliam                                 Bar #:     2&lilS.
     For the: IX Plaintiff   o Defendant             .o Intervenor       Email Address: cpurnam@cbplaw com
     Related tase(s): Judge:                                                    Case IO(s):._ _ _ _ _ _ _ __
     Manner of filing (choose one): .                  QC (MFO) Original                     o (MFR+case type) Re-open
                                                       o (MFT) Transfer                      o (MFF) Reactivate


     1                                                                                                           1/1/2017
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•             Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 42 of 68

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                           IN THE CIRCUIT COURT OF WIDTE COUNTY, ARKANSAS


         ARCARE, INC.                                                                            ~ ... TIFF


         v.                                    CASE NQ.        1,,&:r (,,(   O.,L....-   I   I


         ALERE, INC.;
         ALEREHOME
         MONITORING, INC.
                                        CLASS ACTION COMPLAINT

                Plaintiff, ARcare, Inc. ("Plaintiff"), on behalf of itself and all others similarly situated,

         brings this Complaint against Defendant Alere, Inc. and Defendant Alere Home Monitoring, Inc.
                                                                                      '
         (collectively "Defendants") for violations of the federal Telephone Consumer Protection Act.

         Plaintiff seeks certification of its claims against Defendants as a class action.        In support,

         Plaintiff states as follows:

                                                 INTRODUCTION

                ·1.      This case challenges Defendants' policy and practice of faxing advertisements

         without providing an adequate opt-out notice as required by law.

                 2.      Congress enacted the Telephone Consumer Protection Act ("TCPA"), 47 U.S.C. §

         227, to regulate the fast-growing expansion of the telemarketing industry. As is pertinent here,

         the TCPA and its implementing regulations prohibit persons within the United States from

         sending advertisements via fax without including a detailed notice that allows recipients to

         expeditiously opt out of receiving future solicitations.

                 3.      Junk faxes disrupt recipients' peace, drain recipients' paper, ink, and toner, and

         cause recipients tangible damages. Junk faxes also cause recipients to waste valuable time

         retrieving and discerning the purpose of the faxes; prevent fax machines from receiving and

         sending authorized faxes; and cause undue wear and tear on recipients' fax machines. Plaintiff



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.   ;.              Case 4:17-cv-00147-KGB Document 1 Filed 03/13/17 Page 43 of 68

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               offers pharmaceutical services and must use its fax machine to receive communications about

               patients. That pmpose is iinpeded when PlaintiWs fax machine is invaded by junk faxes.

                       4.       The TCPA provides a private right of action and statutory damages of $500 per

               violation, which may be trebled when the violation is willing or knowing.

                       5.       On behalf of itself and all others similarly situated, Plaintiff brings this case under

               the TCPA to recover declaratory relief, damages for violations of the TCPA, and an injunction

               prohibiting Defendants from future TCPA violations.

                                                     JURISDICTION AND VENUE

                       6.       This Court has jurisdiction over Defendants because they do business in

               Arkansas, including but not limited to sending the junk advertising faxes to Arkansas residents

               and companies, including Plaintiff ARcare. 1

                       7.        Venue in this district is proper because the facility that received unsolicited junk

               faxes from Defendants is located in White County: Bald Knob Medical Clinic.

                                                                    PARTIES

                       8.        Plaintiff ARcare is an Arkansas non-profit corporation located in Augusta,

               Arkansas.



               1
                 Plaintiff originally sought to adjudicate this dispute by filing an action in the federal district court in which
               Defendant Alere's principal place of business is located - Massachusetts. However, Defendants took the position
               that Plaintiff does not have Article Ill standing to remedy the invasion of its statutory rights in a federal court of
               limited jurisdiction. See A.Rctll'e v. A.Jere, Inc. et al, Case No. 1:16-cv-12093, Diet. No. 18 (D. Mass. Oct. 19, 2016).
               Consistent with Defendants' position, Plaintiff now files this action in this court of general jurisdiction consistent
               with Arkansas jurisprudence. See Daughhetee v. Shipley, 282 Ark. 596, 669 S. W 2d 886 (Ark. 1984) ("the courts are
               instituted to afford relief to persons whose rights have been invaded, or are threatened with invasion, ·by the
               defendant's acts or conduct and to give relief at the instance of such persons." quoting 59 Am. Jur. 2d Parties § 26
               (1971)); Chubb Lloyds Ins. Co. v. Miller County Circuil Court, 2010 Ark. 119, 361 S.W.3d 809, 812 (Ark. 2010)
               (holding that the issue of standing "'is a question of state law,"' and "'federal cases based on Article Ill of the U.S.
               Constitution are not controlling."' quoting David Newbern &: John Watkins, 2 Arkansas Civil Practice and
               Procedure, § 7-3 at 155 (4th ed. 2006)). As detailed in this Complaint. Plaintiff's statutory rights under the TCPA
               have been invaded by Defendants' acts of transmitting unsolicited junk faxes without the required opt-out notice;
               accordingly, Plaintiff bas standing to adjudicate this action in Arkansas state court.


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                 9.      Defendant Alere, Inc. is a company that is a global diagnostic device and service

        provider. It has its principal place of business in Waltham, Massachusetts, and is organized under

        the laws of Delaware.

                 10.     Defendant Alere Home Monitoring, Inc. is a company that provides home

        anticoagulation monitoring services and related products. It has its principal place of business in

        California, and is organized under the laws of Delaware.

                                                       FACTS

                 11.     During the Class Period, Defendants sent an unsolicited advertisement to

        Plaintiff's ink-and-paper facsimile machine. The fax advertises Defendants' home INR

        monitoring program. The fax informs the recipient that "Our home INR monitoring program

        makes managing warfarin simple and convenient for you and your patients."(emphasis in

        original). The fax implores the recipient to receive further information about the service: "Call

        us at 877.262.4669, option 4 to provide your Verbal Order and a representative will explain next

        steps.   Al~    Home Monitoring takes care of the rest." (emphasis in the original). A copy of this·

        facsimile is attached hereto and marked as Exhibit A.

                 12.      Exhibit A is an exemplary of the junk faxes Defendants send.

                 13.      Upon information and belief, Plaintiff has received multiple fax advertisements

        from Defendants similar to Exhibit A.

                  14.     Defendants also sent two other faxes advertising their home INR monitoring

        program during the Class Period. These faxes have been attached as Exhibit B.

                  15.     Defendants did not have Plaintiff's prior express invitation or permission to send

        advertisements to .Plaintiff's fax machine.




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                 16.      Defendants' faxes do not contain opt-out notices that comply with the

          requirements of the TCPA.

                                              CLASS ALLEGATIONS

                 17.      In accordance with Ark .. R. Civ. P. 23, Plaintiff brings this action on behalf of the

          following class of persons (the "Class''):

                 All persons and entities who held telephone numbers that received one or more
                 telephone facsimile transmissions that (1) promoted the commercial availability
                 or quality of property, goods or services offered by "Alere" and (2) did not state
                 on the first page that the fax recipient may make a request to the sender not to
                 send any future ads and that the sender's failure to comply, within 30 days, with
                 such a request is unlawful.

                  18.     Plaintiff reserves the right to modify or amend the definition of the proposed

          Class before the Court determines whether certification is proper, as more information is gleaned

          in discovery.

                  19.     Excluded from the Class are Defendants, any parent, subsidiary, affiliate, or

          controlled person of Defendants, as well as the officers, directors, agents, servants, or employees

          of Defendants and the immediate family members of any such person. Also excluded are any

          judge who may preside over this case and any attorneys representing Plaintiff or the Class.

                  20.     Numerositv [Ark. R. Civ. P. 23{a)(l)j. The Members of the Class are so numerous

          that joinder is impractical. Upon information and belief, Defendants have sent illegal fax

          advertisements to hundreds if not thousands of other recipients.

                  21.     Commonality [Ark. R. Civ. P. 23{a)C2ll. Common questions oflaw and fact apply

          to the claims of all Class Members and include (but are not limited to) the followiiig:

                          a.      Whether Defendants sent faxes promoting the commercial availability or

                  quality of property, goods, or services;




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              b.      The manner and method Defendants used to compile or obtain the Jist(s)

      of fax numbers to which they sent the faxes attached as Exhibit A and Exhibit B to

      Plaintiff's Class Action Complaint and other unsolicited fax advertisements;

              c.      Whether Defendants faxed advertisements without first obtaining the

      recipient's express permission or invitation;

              d.      Whether Defendants' advertisements contained the opt-out notices

       required by the law;

              e.      Whether Defendants sent fax advertisements knowingly or willfully;

               f.     Whether Defendants violated 47 U.S:C. § 227;

              g.       Whether Plaintiff and the other Class members are entitled to statutory

       damages;

               h.      Whether the Court should award trebled damages; and

               i.      Whether Plaintiff and the other Class M~bers are entitled to declaratory,

       injunctive, or other equitable relief.

       22.     Typicality [Ark. R. Civ. P. 23(a)(3l]. Plaintiff's claims are typical of the claims

of all Class Members,. Plaintiff received unsolicited fax advertisements without adequate opt-out

notices from Defendants during the Class Period. Plaintiff makes the same claims that it makes

for the Class Members and seeks the same relief that it seeks for the Class Members. Defendants
                        I



have acted in the same manner toward Plaintiff and all Class Members.

       23:     Fair and Adegµate Representation [Ark. R. Civ. P. 23(a)(4)]. Plaintiff will fairly

and adequately represent and protect the interests of the Class. It is interested in this matter, has

no conflicts, and has retained experienced class counsel to represent the Class.




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       24.    Predominance and Superiority [Ark. R. Civ. P. 23(b)(3)J. For the following

reasons, common questions of law and fact predominate and a class action is superior to other

methods of adjudication:

              (a) Proof of Plaintiff's claims will also prove the claims of the Class without the

                   need for separate or individualized proceedings;

              (b) Evidence regarding defenses or any exceptions to liability that Defendants

                   may assert will come from Defendants' records and will not require

                   individualized or separate inquiries or proceedings;

              (c) Defendants have acted and continue to act pursuant to common policies or

                   practices in the same or similar manner with respect to all Class Members;

               (d) The amount likely to be recovered by individual Members of the Class does

                   not support individual litigation. A class action will permit a large number of

                   relatively small claims ifivolving virtually identical facts and legal issues to

                   be resolved efficiently in one proceeding based on common proofs;
                                                                                                 f


               (e) This case is inherently well-suited to class treatment in that:

                    (i)    Defendants identified persons or entities to receive their fax

                           transmissions, and it is believed that Defendants' computer and

                           business records will enable Plaintiff to readily identify Class

                           Members and establish liability and damages;

                    (ii)   Common proof can establish Defendants' liability and the damages

                           owed to Plaintiff and the Class;




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                                                                                                          "

                          (iii) Statutory damages are provided for in the statutes and are the same for

                                all Class Members and can be calculated in the same or a similar

                                manner;

                          (iv) A class actjon will result in an orderly and expeditious administration

                                of claims, and it will foster economies of time, effort, and expense;

                          (v)   A class action will contribute to uniformity of decisions concerning

                                Defendants' practices; and
                                                                      I

                          (vi) As a practical matter, the claims of the Class are likely to go

                                unaddressed absent class certification.

                                          CLAIMS FOR RELIEF

                                                COUNT ONE
                          Violations of the Telephone Consumer Protection Act
                          47 U.S.C. § 227(b)(J)(C) and 47 C.F.R. § 64.1200(a)(4)

           25.     Plaintiff hereby incorporates by reference each of the preceding paragraphs as

    though fully set forth herein.

           26.     The TCPA provides strict liability for sending fax advertisements in a manner that

    does not comply with the statute. Recipients of fax advertisements have a privat~ right of'action

    to seek an injunction or damages for violations of the TCPA and its implementing regulations. 47

    u.s.c. § 227(b)(3).
            27.    The TCPA makes it unlawful to send any ''unsolicited advertisement" via fax

    unless certain conditions are present. 47 U.S.C. § 227{b)(l)(C). "Unsolicited advertisement" is

    defined as "any material advertising the commercial availability or quality of any property,

    goods, or services which is transmitted to any person without that person's prior express

    invitation or permission, in writing or otherwise." 47 U.S.C. § 227(a)(5).



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       28.     Unsolicited faxes are illegal if the sender and recipient do not have an

"established business relationship." 47 U.S.C. § 227(b)(l)(C)(i). "Established business

relationship" is defined as "a prior or existing relationship formed by a voluntary two-way

communication between a person or entity and a business or residential subscriber with or

without an exchange of consideration, on the basis of an inquiry, application, purchase or

ttansaction by the business or residential subscriber regarding products or services offered by

such person or entity, which relationship has not been previously terminated by either party." 47

U.S.C. § 227(a)(2); 47 C.F.R. § 64.1200(£)(6).

      · 29.        Regardless of whether the sender and recipient have an established business

relationship, and regardless of whether the fax is unsolicited, a faxed advertisement is illegal

unless it includes an opt-out notice on its first page that complies with the TCPA's requirements.

See 47 U.S.C. § 227(b)(l)(C)(iii); 47 C.F.R. § 64.1200(a)(4){iv). To comply with the law, an opt-

out notice must (1) inform the recipient that the recipient may opt out of receiving future faxes

by contacting the sender; (2) provide both a domestic telephone number and a facsimile machine

number--one of which must be cost-free-that the recipient may contact to opt out of future

faxes; and (3) inform the recipient that the sender's failure to comply with an opt-out request

within thirty days is a violation of law. See 47 U.S.C. § 227(b){2)(D); 47 CFR §

64.1200{a)(4)(iii).
                    J


        30.        Defendants faxed unsolicited advertisements to Plaintiff that did not have

compliant opt-out notices, in violation of 47 U.S.C. § 227(b)(l)(C) and 47 C.F.R. §

 64~ 1200(a)(4).


        31.        Defendants knew or should have known {a) that Plaintiff had not given express

 invitation or permission for Defendants to fax advertisements about their services and products;



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(b) that Defendants faxes did not contain a compliant opt-out notice; and (c) that Exhibit A and

Exhibit B are advertisements.

       32.      Defendants' actions caused actual damage to Plaintiff and the Class Members.

Defendants' junk faxes caused Plaintiff and the Class Members to lose paper, toner, and ink

~onsumed     in the printing of Defendants' faxes through Plaintiff's and the Class Members' fax

machines. Defendants' faxes cost Plaintiff and the Class Members time that otherwise would

have been spent on Plaintiff's and the Class Members' business activities.

       33.      In addition to statutory damages (and the trebling thereof), Plaintiff and the Class

are entitled to declaratory and injunctive relief under the TCPA.

                                REQUEST FOR RELIEF

       WHEREFORE Plaintiff, individually and on behalf of all others similarly situated;

respectfully requests that this Court:

                 a)     Determine that this action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure;

                 b)     Declare Defendants' conduct to be unlawful under the TCPA;

                 c)     Award $500 in statutory damages under the TCPA for each violation, and

if the Court determines the violations were knowing or willful then treble those damages;

                 d)     Enjoin Defendants from additional violations;

                 e)     Award Plaintiff and the Class their attorney's fees and costs;

                 f)     Grant such other legal and equitable relief as the Court may deem

appropriate.

                                         JURY DEMAND

        Plaintiff and the Members of the Class hereby request a trial by jury.

DATED: February 2, 2017            Respectfully submitted,
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                 By:   Isl Randall K Pulliam


                       Randall K. Pulliam
                       rpulliam@cbplaw.com
                       CARNEY BATES & PULLIAM, PLLC
                       519 West 7th Street
                       Little Rock, Arkansas 7220 I
                       Telephone: (501) 312-8500
                       Facsimile: (501) 312-8505




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                                                                                                                                                             FAX
                                  Alere Home Monitoring. Inc
                                  64SS Notional Orr.a
                                  ~iverm<lte,   CA 94$50
                                  Office: 1 877 252.4669
                                  Fax:~   925 606 6978
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           5

               ? 55 ·g ,,..       oteracoag com




               Dear Health Care Provider:

               For over 15 years, Alere Home Monitoring has offered a variety of medical devices for Patient Self-Testing.
               Today, our Patient Self-testers use the Roche CoaguChek® XS meter - the same easy-to-use meter
               technology that healthcare professionals trust to give fast, accurate INR test results in office.

               You are receiving this letter because a voluntary withdrawal has been issued for one of the
               home INR meters we offered in the past. Details regarding the voluntary withdrawal are available at
               www.inr-care.com. We are not aware of any patients that you have currently using the device subject
               to the voluntary withdrawal. Please contact us if this is not the case.

               The Roche CoaguChek~Xs is not impacted by the voluntary withdrawal and Alere Home Monitoring
               is not making any change to our services. Patients may continue to use the Roche CoaguChek"'XS
               meter as prescribed by their physician.

               Our home INR monitoring program makes managing warfarin simple and convenient for you and your
               patients. plus it is proven to improve results for patients on anticoagulation therapy.'

               Enrolling patients is easy: Call us at 877.262.4669, option 4 to provide your Verbal Order and a
               representative will explain next steps. Alere Home Monitoring takes care of the rest. We will verify
               insurance coverage, advise the patient of any potential out-of-pocket cost, and arrange for their Face-2-
               Face® training on the meter.

               Please call us today with any questions. Knowing now matters. TM

               Regards,

               Alere Home Monitoring, Inc.




               Confidential Notice: Th~ in!om111tinn contained in lh1s tuu•~niht lransmission is pnl'ileged ~nrl cnr1&r1entiul. intended for th& usft of lhe ar.rlress~ lillh•d 0:1 th<11
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     .$ OG/01;2016 5:58 PM                                        United Healthtare                   7   15017243305                      Dl




                                                    CONTRACT ANNOUNCEMENT
                                                                                          Alere Home Monitoring, Inc.


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                We are pleased to announce UnitedHealthcare is now contracted with
                  Ale re Home Monitoring for the provision of INR home monitoring
                                              services.

                UnitedHealthcare members who meet medical coverage criteria may
                  qualify for PT/INR self-testing services of the Alere™ Home INR
                                         Monitoring program.

             To refer a patient, please call 1 Jff7.26~.46B9 or fax to 925.606.6978.


                                         Alere Home Monitoring, Inc.
              rp ?'?.,                   PTINR.com®

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. e 06/0t/2016 5:58 PM                            United Healthcare                                  ·~   15017243305                                                                                 02

     Alere™ Home INR Monitoring Physician Form
    1.   PATIENT INFORMATION
     First Name, M.1., Last Name                                                                             Date of Birth


     Patie;nt Phone Number(s)
                                                    /    ____                                                 Patient Email


    D     Additional Patient Information attached
     Warfarin Start Date:
     _/
     Month                   Day
                                            /   __      Year
                                                                                     2.   TARGET          INR   RANGE
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                                                                                                                                                         TO _ __
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                                                                                     comrn.nicate INR test r&$ults based on Physc3" Office Prefe-ences.

     3. PHYSICIAN INFORMATION
     Prescribing Physician Name                                                                               NPI#


     Address (Prescr1blng Ptysldan)


     Group Practice or HospitafName (Prescribing Phystclan)                                                    Prescribing Office phone                                Office fax


     Managing Physician. Practice or Clinic Name                                                              Managing Office phone                                    Office fax


     INR MONITORING SYSTEM                                                                                    4.   DIAGNOSIS* {check~ to four)
     Patient will be provided an INA Meter and strips approved tor home                                         ICD·10·CM            Description
     use. Available meters do not have approval for pediatric use.                                                CODE
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           (RlQulras current Training Ssrvlcs AgreBmEnt)
     0     J.lhysician confirms that this patient has received                                                 Olhel':
           training on the prescribed monitor and home INR testing
      Physician can determine Office Preferences for Monitor lype,
      R&l»'tlng Instructions and Tra/n/ng Preference with an Alere Home
      Monitoring Safes Representative.
     7. STATEMENT OF MEDICAL NECESSITY/ PRESCRIPTION
     1'Ns fOlm serves as an order for Home INA Moriltcrlng eqt.1.i;rnant. supplies, and relal9:1 services. Equlpm;nt ard supplies may bs provldsd by either Alen; or Its third
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                           Alere Home Monitoring, Inc.• 6465 National Drive• Livermo~e. CA 94550 •Phone 1.877.252.4669 • ptinr.com
                                            Submit your prescription electronically with e-Prascribe at alerecoag.com

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        '                                                                        l_




                              IN THE CIRCUIT COURT OF WIIlTE COUNTY, ARKANSAS


            ARCARE, INC.                                                                               PLAINTIFF

            v.                                        CASENO.~~~~~

            ALERE, INC.;
            ALEREHOME
            MONITORING, INC.                                                                       DEFENDANTS

                                    PLAINTIFF'S FIRST SET OF INTERROGATORIES

                   ·Plaintiff, pursuant to Rules 26 and 33 of the Arkansas Rules of Civil Procedure, requests

            that Defendants provide answers to the following Interrogatories within 45 days of service to the

            undersigned counsel, or at such other time and place and in such manner as the parties may

            mutually agree.

                                                          INSTRUCTIONS

                    1.      These requests are to be responded to separately and fully, in writing, within 45

            days of the date of service.

                    2.      You are to produce all requested documents and things in your possession, custody
                                                            \

            or control. If you object to any request, specify the part to which you object, state your objection(s),

            state all factual and legal justifications which support your objection(s), and respond to the

            remainder of ~e request to which you do not object.
-----------                                     -                     -----------·-------
                    3.     .If any document(s) requested was, but is no longer, in existence, state whether it is:

            (a) missing or lost; (b) destroyed; (c)   ~ansferred   voluntarily or involuntarily to others, and if so,

            to whom; or (d) otherwise disposed of and, in each such instance, explain the circumstances

            surrounding an authorization for such disposition and the approximate date thereof. .

                    4.      Each request for production shall be construed to include information and

            documents within your knowledge, possession or control as of the date of your responses to these
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           requests for production and any supplemental information and documents responsive to these ·

           requests generated, obtained or discovered after the date of your original responses.

                   5.      You are required      t~   promptly supplement your responses to these requests

           throughout the duration of this action.

                   6.      Pursuant to Arkansas Rule of Civil Procedure 34(b)(2)(E)(i), please organize and

           label the documents you produce so as to indicate the request or requests to which they respond.

                   7.      If you contend that any requested documentS are protected by the attorney-client

           privilege, the attorney work product doctrine or any other legally recognized privilege, provide a

           list showing each document withheld and, as to each, state (a) the type of document (e.g., letter,

           memo, e-mail), (b) name and title or position of the author(s), (c) name and title or position of the

           recipient(s), including all cc: and bee: recipient(s), (d) the date of the document, (e) the title or

           subject matter, (f) the privilege or privileges claimed, and (g) the document request or requests to

           which the (,iocument relates.

                   8.      All definitions set forth below are incorporated by reference into the following

           requests as if fully set forth therein.

                                             TlME FRAME OF REQUESTS

                   1.      Unless otherwise stated, the time period covered by these requests is June 1, 2012

-----·--- to the presenc·            ·----- --·-.


                                                           DEFINITIONS

                   1.      You," "Your" and/or "Defendants" means and refers to the above-named

           Defendants, including their current and former officers, directors, employees, attorneys, agents

           and representatives, and any affiliated entities.




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               2.    ' "Documents" means any tangible thing, writing, recording or reproduction ih any

        manner, any visual or auditory data in your possession, custody or control, including without

        limitation, electronically stored information as defined by Ark. R. Civ. P. 26 and 34, computer

        data bases, hard drives, storage tapes or disks, all e-mail data (including attachments thereto), any

        digital version of any requested information, and any papers or other format on which words have

        been written, printed, typed, digitally embedded or otherwise affixed, correspondence,

        memoranda, transcripts, stenographic or handwritten notes, telegrams, telexes, facsimiles, letters,

        reports, budgets, forecasts, presentations, analyses, training or instructional handbooks or manuals,
                                   '
        graphs or charts, ledgers, invoices, diaries or calendars, minute books, meeting minutes, computer

        print-outs, prospectuses, financial statements, checks, bank statements, annual, quarterly or other

        filings with any governmental agency or department, annual reports (including schedules thereto),

        statistical studies, articles appearing in publications, press releases, video or audio tapes, and shall

        mean originals or a copy where the original is not in your possession, custody or control, and every

        copy of every document where such copy is not an identical copy of an original (whether different

        from the original by reason of any notation made on such copy or for any other reason).

               3.       "Communication" means any oral utterance made, heard or          overhe~d   to another

        person or persons, whether in person or by telephone or otherwise, as well           as every written
----·-aocument      ancf every other mode ofintentionally conveyed meaning.
               4.       As used herein, the words "pertaining to," "regarding," or "reflecting" shall mean:

        relating to, referring to, containing, concerning, describing, mentioning, constituting, supporting,

        corroborating, demonstrating, proving, evidencing, refuting, disputing, rebutting, controverting

        and/or contradicting.




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       5.      Words in the singular include the plural, and vice versa, and the words "and" and

"or" include "and/or." The past tense includes the present tense when the clear meaning is not

distorted by the change of tense.

       6.      "Electronic Information" means and refers to all data, reports, and documents. It

includes, but is not limited to, the equivalent information to the electronic information previously

produced by You in this litigation.

       7.      "Advertisement" means any material advertising the commercial availability or

quality of any property, goods, or services.

       8.      "Opt-Out Notice" means a statement within a facsimile informing the recipient that

it may make a request to the sender of the facsimile advertisement not to send any future

advertisements to a telephone facsimile machine or machines and that the sender's failure to

comply within 30 days ofreceiving such a request is unlawful.

       9.      "Expressly Invited" and/or "Expressly Granted Permission" means the manner in

which the recipient of a facsimile(s) affirmatively conveyed to the sender of the facsimile(s) its

desire to receive such facsimile(s).

                                         INTERROGATORIES

INTERROGATORY No. 1:

    -· Identify the means by wfiiCfi you purport ARcare, Inc. provided express invitation or           -----

permission to receive the faxes attached to the Complaint.

INTERROGATORY No. 2

       Identify the means by which other recipients of Your faxes provided express invitation or

permission to receive the faxes attached to the Complaint.

INTERROGATORY No. 3


                                                 4
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       Identify any entity or individual with whom You have consulted regarding compliance

with the Telephone Consumer Protection Act.

INTERROGATORY No. 4

       Identify any entity or individual from whom you acquired the fax numbers to which Your

faxes were sent.

INTERROGATORY No. 5

       Identify the total amount of fax numbers to which you have sent the document identified

as Exhibit A to the Complaint since June 1, 2012

INTERROGATORY No. 6

       Identify the total amount of fax numbers to which you have sent the documents identified

as Exhibit B to the Complaint since June 1, 2012.

INTERROGATORY No. 7

       Identify the total amount of fax numbers to which you have sent faxes since June 1, 2012.

INTERROGATORY No. 8

       Identify the total amount of fax numbers to which you have sent Advertisement faxes

since June I, 2016.

DATED: February 6, 2017                             Respectfully submitted,   f
                                            By'.·     -    f!d~-~~1---
                                                     Joseph Henry (Hank) Bates
                                                     hbates@cbplaw.com
                                                     Randall K. Pulliam, Esq.
                                                     rpulliam@cbplaw.com
                                                     CARNEY BATES & PULLIAM, PLLC
                                                     519 West 7m Street      _
                                                     Little Rock, Arkansas 7220 l
                                                     Telephone: (501) 312-8500
                                                    _Facsimile: (501) 312-8505




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                                        CERTIFICATE OF SERVICE

           I certify that a true and correct copy of the foregoing has been served via hand delivery this 6th
    day of February, 2017, upon:

    Alere, Inc.
    c/o Corporation Service Company
    2711 Centerville Rd., Suite 400
    Wilmington, DE 19808

    Alere Home Monitoring, Inc.
    c/o Corporation Service Company
    2711 Centerville Rd., Suite 400

                                                                            C)~J
    Wilmington, DE 19808


                                                   Joseph
                                                          ~4
                                                           Henry (Hank) Bates




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                            IN THE CIRCUIT COURT OF WHITE COUNTY, ARKANSAS


          ARCARE, INC.                                                                            PLAINTIFF

          v.                                     CASENO.~~~~~

          ALERE, INC.;
          ALEREHOME
          MONITORING, INC.                                                                    DEFENDANTS

                        PLAINTIFF'S FIRST SET OF REQUESTS FOR PRODUCTION

                 Plaintiff, pursuant to Rules 26 and 34 of the Arkansas Rules of Civil Procedure, requests

          that Defendants pr?duce the documents and things described herein for inspection and co~ying in

          accordance with Rules 26 and 34.

                                                  INSTRUCTIONS

                  1.     These requests are to be responded to separately and fully, in writing, within 45

          days of the date of service.

                 2.      You are to produce all requested documents and things in your possession, custody

          or control.   If you object to any request, specify the part to which you object, state your

          objection(s), state all factual and legal justifications which support your objection(s), and respond

          to the remainder of the request to which you do not object.

                 3.      If any document(s) requested was, but is no longer, in existence, state whether it is:
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          (a) missing or lost; (b) destroyed; (c) transferred voluntarily or involuntarily to others, and if so,

          to whom; or (d) otherwise disposed of and, in each such instance, explain the circumstances

          surrounding an authorization for such disposition and the approximate date thereof.

                 4.      Each request for production shall be construed to include information and

          documents within your knowledge, possession or control as of the date of your responses to these




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         requests for production and any supplemental information and documents responsive to these

         requests generated, obtained or discovered after the date of your original responses.

                 5.        You are required to promptly supplement your responses to these requests

         throughout the duration of this action.

                 6.        Pursuant to Arkansas Rule of Civil Procedure 34(b)(2)(E)(i), please organize and

         label the documents you produce so as to indicate the request or requests to which they respond.

                 7.        If you contend that any requested documents are protected by the attorney-client

         privilege, the attorney work product doctrine or any other legally recognized privilege, provide a

         list showing each document withheld and, as to each, state (a) the type of document (e.g., letter,

         memo, e-mail), (b) name and title"or position of the author(s), (c) name and title or position of the

         recipient(s), including all cc: and bee: recipient(s ), (d) the date of the document, (e) the title or

         subject matter, (t) the privilege or privileges claimed, and (g) the document request or requests to

         which the document relates.

                 8.        All definitions set forth below are incorporated by reference into the following

         requests as if fully set forth therein.

                                           TIME FRAME OF REQUESTS

                 I.        Unless otherwise stated, the time period covered by these requests is June I, 2012

         totlie present.

                                                    DEFINITIONS

                 I.        "You," "Your" and/or "Defendants" means and refers to the above-named

         Defendants, including their current and former officers, directors, employees, attorneys, agents

         and representatives, and any affiliated entities.




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        2.      "Documents" means any tangible thing, writing, recording or reproduction in any

manner, any visual or auditory data in your possession, custody or control, including without

limitation, electronically stored information as defined by Ark. Civ. P. 26 and 34, computer data

bases, hard drives, storage tapes or disks, all e-mail data (including attachments thereto), any

digital version of any requested information, and any papers or other format on which words have

been written, printed, typed, digitally embedded or otherwise affixed, correspondence,

memoranda, transcripts; stenographic or handwritten notes, telegrams, telexes, facsimiles, letters,

reports, budgets, forecasts, presentations, analyses, training or instructional handbooks or manuals,

graphs or charts, ledgers, invoices, diaries or calendars, minute books, meeting minutes, computer

print-outs, prospectuses, financial statements, checks, bank statements, annual, quarterly or ot;her

filings with any governmental agency or department, annual reports (including schedules thereto),

statistical studies, articles appearing in publicatio~s, press releases, video or audio tapes, and shall

mean originals or a copy where the original is not in your posse.ssion, custody or control, and every

copy of every document where such copy is not an identical copy of an original (whether different

from the original by reason of any notation made on such copy or for arty other reason).

        3.      As used herein, the words "pertaining to," "regarding," or "reflecting" shall mean:

relating to, referring to, containing, concerning, describing, mentioning, constituting, supporting,

corro6orating, Ciemonstrating, proving, eviaencing, reffiting, disputing, reoutting, controverting

and/or contradicting.

       4.       Words in the singular include the plural, and vice versa, and the words "and" and

"or" include "and/or." The past tense includes the present tense when the clear meaning is not

distorted by the change of tense.




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          . 5.      "Electronic Information" means and refers to all data, reports, and documents. llt

     includes, but is not limited to, the equivalent information to the electronic information previously

     produced by You in this litigation.

            6.      "Advertisement" means any material advertising the commercial availability or

     quality of any property, goods, or services.

            7.      "Opt-Out Notice" means a statement within a facsimile informing the recipient that

     it may make a request to the sender of the facsimile advertisement not to send any future

     advertisements to a telephone facsimile machine or machines and that the sender's failure to

     comply within 30 days of receiving such a request is unlawful.

            8.      "Expressly Invited" and/or "Expressly Granted Permission" means the manner in

     which the recipient of a facsimile(s) affirmatively conveyed to the sender of the facsimile(s) its

     desire to receive such facsimile(s)

            9.      "Your Faxes" means the faxes described and requested in Requests for Production

     No 1 through 4.

                                    REQUESTS FOR PRODUCTION

            REQUEST No. 1:

            Copies of all faxes that You sent or that were sent on Your behalf.

             REQUEST-N0.2:.

            Copies of all fax Advertisements that You sent or that were sent on Your behalf.

            REQUEST No. 3:

            Copies of all faxes the same or substantially the same as the fax attached as Exhibit A to

     the Complaint that You sent or that were sent on Your behalf.

            REQUEST No. 4:


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                 Copies of all faxes the same or substantially the same as the faxes attached as Exhibit B

         to the Complaint that You sent or that were sent on Your behalf.

                 REQUEST No. 5:

                 All Documents evidencing the fax numbers to which each of Your Faxes was sent.

                 REQUEST No. 6:

                 All Documents evidencing to the time and date each of Your Faxes was sent by You or

         on Your behalf.

                 REQUEST No. 7:

                 All Documents relating to the means and methods by which You acquired the fax

         numbers to which each of Your Faxes were sent.

                 REQUEST No. 8:

                 All Documents relating to any Agreement between You and a third party to have the third

         party send faxes on Your behalf.

                 REQUEST No. 9:

                 All Documents relating to any Communications between You and a third party to have

         the third party send faxes on Your behalf.

                 REQUEST No. 10:

                'AlrDocuments You purport evidence Persons wfio expresslymvited or expressly granted

         permission to receive Your Faxes.

                 REQUEST No. 11:

                 All Documents You purport evidence that any of Your Faxes were solicited by the

         recipients.

                 REQUEST No. 12:


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                 All Documents relating to any policies or practices used by You or any person employed

          or contracted by You to ensure that recipients of Your Faxes expressly invited or expressly

          granted permission to receive any of Your Faxes.

                 REQUEST No. 13:

                 All Documents relating to any of Your policies or practices regarding the inclusion of

          Opt-Out Notices on Your Faxes.

                 REQUEST No. 14:

                 All Documents related to recipients who expressed a desire to no longer receive Faxes

          from you.

                 REQUEST No. 15:

                 All Documents relating to any policies or practices used by You or any person employed

          or contracted by You (1) to determine if a recipient expressed a desire to no longer receive Faxes

          from you and (2) to ensure that the request is honored.

                 REQUEST No. 16:

                 All Documents produced by You in other litigation against You relating to alleged

          violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227.

                 REQUEST No. 17:

                 AirDocuments proaucecroy You to ilie Federal-Communications Commission relatingto

          the Telephone Consumer Protection Act, 47 U.S.C. § 227.




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                  DATED: February 6. 2017                       Respectfully submitted,      (

                                                                By:          JI,,,,_;{/"--       :J~)
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                                                                        5 I 9 West 71h Street
                                                                        Little Rock, Arkansas 72201
                                                                        Telephone: (501) 312-8500
                                                                        Facsimile: (501) 312-8505



                                                      CERTIFICATE OF SERVICE

                         I certify that a true and correct copy of the foregoing has been served via hand delivery this 6th
                  day of February, 2017, upon:

                  Alere, Inc.
                  c/o Corporation Service Company
                  2711 Centerville Rd., Suite 400
                  Wilmington, DE 19808

                  Alere Home Monitoring, Inc.
                  c/o Corporation Service Company
                  2711 Centerville Rd., Suite 400
                  Wilmington, DE 19808
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                                                                 Joseph Henry (Hank) Bates




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    .                                                                 CARNEY BATES & PULLIAM, PLLC
                                                                           519 West 7111 Street
                                                                          Little Rock, AR 72201




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jl                                                                    ALERE HOME MONITORING, INC.
1:                                                                    c/o Corporation Service Company
1:                                                                    2711 Centerville Rd., Suite 400
                                                                      Wilmington, DE 19808




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